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 8 Facsimile: (213) 402-2170
 9 Attorneys for Plaintiff
   SHAWN BEDWELL
10                         UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12
13 SHAWN BEDWELL, an individual,                 CASE NO.: 5:21-cv-01367-JGB-SP
14
                  Plaintiff,                     JOINT NOTICE OF SETTLEMENT
15
16         vs.
                                                 The Hon. Jesus G. Bernal
17 TWIN BROS EMPIRE INC., a                      Trial Date: Not on Calendar
18 California corporation; and Does 1-10,
19                Defendants.
20
21         The Parties hereby jointly notify the court that a confidential settlement has

22 been reached in the above-captioned case and the parties would like to avoid any
23
     additional expense, and further the interests of judicial economy.
24
25          The Parties, therefore, apply to this Honorable Court to vacate all currently set

26 dates with the expectation that a Joint Stipulation for Dismissal with prejudice as to
27
   all parties will be filed within 60 days. The Parties further request that the Court
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                                   JOINT NOTICE OF SETTLEMENT
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 1 schedule a Status Conference/OSC Hearing approximately 60 days out at which the
 2
     Parties, by and through their attorneys of record shall show cause why this case has
 3
     not been dismissed.
 4
 5
 6
     DATED: April 7, 2022                THE LAW OFFICE OF HAKIMI &
 7                                       SHAHRIARI
 8
 9
                                         By:    /s/Anoush Hakimi
10                                             Anoush Hakimi, Esq.
11                                             Attorneys for Plaintiff, Shawn Bedwell

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13
     DATED: April 7, 2022                VAUGHAN & ASSOCIATES LAW OFFICE,
14                                       APC
15
16                                       By:     /s/ Cris C. Vaughan
17                                             Cris C. Vaughan, Esq.
                                               Attorney for Defendant, Twin Bros Empire,
18                                             Inc.
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                                  JOINT NOTICE OF SETTLEMENT
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 1                             SIGNATURE ATTESTATION
 2        I hereby attest that all signatories listed above, on whose behalf this stipulation
 3 is submitted, concur in the filing's content and have authorized the filing.
 4
 5                                           ANOUSH HAKIMI
 6
 7                                                   /s/ Anoush Hakimi
 8                                             By: Anoush Hakimi
                                               Attorney for Plaintiff Shawn Bedwell
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                                  JOINT NOTICE OF SETTLEMENT
